                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 4:15-cr-18
  v.                                             )
                                                 )        Judge Travis R. McDonough
  TIMOTHY POWERS                                 )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation (“R&R”)

 recommending the Court: (1) grant Defendant’s motion to withdraw his not guilty plea to Count

 One of the five-count Indictment; (2) accept Defendant’s plea of guilty to the lesser offense of

 the charge in Count One of the Indictment—conspiracy to distribute a mixture and substance

 containing a detectable amount of marijuana, a Schedule I controlled substance, in violation of

 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D); (3) adjudicate Defendant guilty of the lesser

 offense of the charge in Count One of the Indictment—conspiracy to distribute a mixture and

 substance containing a detectable amount of marijuana, a Schedule I controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D); (4) defer a decision on whether to

 accept the plea agreement until sentencing; and (5) find that Defendant shall remain in custody

 until sentencing in this matter. (Doc. 128.) Neither party filed a timely objection to the R&R.

        After reviewing the record, the Court agrees with the magistrate judge’s R&R.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s R&R (Doc. 128)

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:




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       (1) Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment is

          GRANTED;

       (2) Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

          Indictment—conspiracy to distribute a mixture and substance containing a detectable

          amount of marijuana, a Schedule I controlled substance, in violation of 21 U.S.C. §§

          846, 841(a)(1), and 841(b)(1)(D)—is ACCEPTED;

       (3) Defendant is hereby ADJUGED guilty of the lesser offense of the charge in Count

          One of the Indictment—conspiracy to distribute a mixture and substance containing a

          detectable amount of marijuana, a Schedule I controlled substance, in violation of 21

          U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D);

       (4) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

          and

       (5) Defendant SHALL REMAIN in custody until sentencing in this matter, which is

          scheduled to take place on September 9, 2016, at 2:00 p.m. [EST] before the

          undersigned.

 SO ORDERED.

 ENTER:

                                             /s/Travis R. McDonough
                                             TRAVIS R. MCDONOUGH
                                             UNITED STATES DISTRICT JUDGE




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